  Case 2:19-cv-10635-ILRL-JVM Document 97-8 Filed 10/09/20 Page 1 of 2




           DEPOSITION TRANSCRIPT OF:
                       Kendall Matthews


                          DATE TAKEN:

                              2/7/2020


                               CASE:

       Byron Taylor vs HD and Associates, LLC



                    Affiliated Reporting
             650 Poydras Street, Suite 2610
                  New Orleans, LA 70130
                   Phone: 504-568-9111
                    Fax: 504-568-9110
           Email: pages@affiliatedreporting.com
           Website: www.affiliatedreporting.com



Attached to the back cover is a CD with the transcript files.
              Case
Kendall Matthews     2:19-cv-10635-ILRL-JVM Document 97-8 Filed 10/09/20 Page 2 of 2


   1           it's funny, because he actually got me into
   2           HDA.        He was working there before I was.
   3     Q. Okay.
   4     A. And he was, like, you know, telling me about
   5           how, you know, John -- because he first
   6           started, John was looking out for techs and
   7           making sure you had a vehicle and everything,
   8           and he was getting taken care of.                       But he
   9           said, over time, he would do more work, but he
 10            was getting less money.
 11      Q. And that would be because the value of the
 12            points allocated to the work was less?
 13      A. Well, no, no.                The way John and Steve looked
 14            at it, which I found out later, was that, when
 15            you first started, they overloaded you, you
 16            know, they made sure you had a nice check, you
 17            know?         But as time went on, you know, other
 18            people start, they would push them in, you
 19            know, overload them with work.                      And you would
 20            get, like, you know, basically minimum, but
 21            your work hours wouldn't change.
 22                     What I mean by that is, you'll start off
 23            with an install for like, 30, 50 points, you
 24            know.         Might not take you that long, you know,
 25            and you get it done, you getting paid, like,

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